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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                  DistrictDistrict
                                             __________    of Columbia
                                                                   of __________


      Mikhail Fridman, Petr Aven, and German Khan              )
                             Plaintiff                         )
                                v.                             )      Case No. 17-2041 RJL
   Bean LLC a/k/a Fusion GPS and Glenn Simpson                 )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         AO Alfa-Bank, ABH Holdings S.A, LetterOne Holdings S.A., LetterOne Investment Holdings S.A.                   .


Date:          07/02/2020                                                               Michael A. McIntosh
                                                                                         Attorney’s signature


                                                                             Michael A. McIntosh DC Bar No. 1012439
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